            Case 5:21-cv-00725-HE Document 8 Filed 08/26/21 Page 1 of 1
                                                                              FILED
                             UNITED STATES DKTRICTCOUOT                         AUG 2 «'2021
                         \A/iT «;tfrN district
                                      Uioi     OF OKLAHOMA             carmelita reeder shinn.
                                                                      O.S.DlST.COURj;ifl|EST£RN   clerk
                                                                                                DIST. OKLA
                                                                      05.DIST. COURJJWESTERN DIST. OKLA,
                                                                                                  deputy

VANCE DOTSON
                Plaintiff,

                                            Case No. 5:21-ev-00725-HE
V.



ALLTRAN FINANCIAL,LP.
            I    Defendant.



                    :             KOTTrF. OF SFTTLEMENT

          Plain,iffi^Vance Dotson, pursuant ,o Rule 4,(a)(l)(A)(i), hereby dismisses with
 prejudice ah claims and causes of action asserted against defendant, All.ran Financial,
 LP,In the above numbered and captioned act,on, with each party to bear its own costs.
     Dated; August 26, 2021

                                                                      ;i/v
                                                                       I

                                            V ance Dotson
                                            1709 Albany Ave
                                            Oklahoma City, OK 73111
                                            Telephone;(405)406-7323
                                            Email; vancedotson@yahoo.com
